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               IN THE UNITED STATES DISTRICT C       T
               FOR THE MIDDLE DISTRICT OF AIA113,AlYI 3 p                   )
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                         EASTERN DIVISION    41* "*.
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DR. MICHAEL L. STERN,

      Plaintiff,

v.                                           CIVIL ACTION NO.        3:16-CA/-$07
AUBURN UNIVERSITY,
                                             jURY TRIAL DEMANDED

      Defendant.


                                  COMPLAINT

      COMES NOW the Plaintiff,DR.MICHAEL L.STERN,by and through his

attorneys of record, and for his Complaint against the Defendant, AUBURN

UNIVERSITY,states as follows:

                            NATURE OF THE CASE

      1.    This is a lawsuit brought by the Plaintiff, Dr. Michael L. Stern, who has

been affected by the actions of defendant as alleged in the claims set forth below,

seeking permanent relieffrom unlawful retaliatory practices that violated plaintiffs

civil and constitutional rights. The practices committed by Defendant violate

Plaintiffs rights under the First Amendment to the Constitution ofthe United States,


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via 42 U.S.C. § 1983( § 1983"), and the law ofthe State of Alabama.

                              JURISDICTION AND VENUE

      2.      This Court has subject matter jurisdiction over this cause of action

pursuant to 42 U.S.C.. §2000e, et seq.

      3.      Plaintiff has fulfilled all conditions precedent to the institution of this

action.

      4.      Defendant, Auburn University (hereinafter"Aubure or "Defendant"),

is a state-supported educational institution and is located within this judicial district

and division.

                                      PARTIES

      5.      Plaintiff,Dr.Michael L.Stern("Plaintiff," or"Stern"),is a forty year-old

white male resident of Auburn, Lee County, Alabama. At all times material herein,

he was employed by Defendant Auburn University as a professor ofeconomics and,

until he was recently retaliated against, was Chairman of the Department of

Economics in the College of Liberal Arts("CLA ').

      6.      Defendant Auburn University is, upon information and belief, governed

by a Board of Trustees comprised of officials who are responsible for policy and

governance of Auburn University, wherein Plaintiff was employed. At all times

relevant to this suit, Defendant Auburn was the employer ofPlaintiff.

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                            STATEMENT OF FACTS

       7.      Fall Semester 2007 — Spring Semester 2008. The College ofBusiness

Administration sold out to the Koch Foundation and engaged in rigged hiring in

exchange for money. Most of this was hidden from the majority of the Economics

Department faculty, who found out about it from Auburn University President Jay

Gogue in early 2008.Dr.Robert Lawson,a Koch Foundation supporter originally out

of Florida State University, was hired into a tenured position in the Finance

Department,even though he had virtually zero finance qualifications. Despite the fact

that Dr. Lawson was an economist with expertise in the supposed measurement of

"economic freedom",the College ofBusiness Administration knew that the majoritY

of the Economics Department faculty would never go along with such a scheme,

hence the use of the far more compliant Finance Department. The illegitimately

imposed Chair ofthe Economics Department brought in Dr.Frank Mixon,with Koch

money and no search whatsoever.

       8.      Late Spring Semester 2008 and Summer 2008. The majority ofthe

Economics Department faculty successfiffly collapsed the illegitimately imposed chair

and the Economics Department was put under direct administration ofthe College of

Business upper administration (Associate Dean Dr. Amit Mitra) for purposes of

retaliation.

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      9.     Fall 2008. Plaintiff worked with a local reporter (Jacque Kochak)to

publish an article in a local paper(The Auburn Villager)to begin exposing the Koch

Foundation scandal. The article sent the University Administration into a state of

panic. President Jay Gogue quickly negotiated a transfer of administrative authority

over the Economics Department directly to the Provost's Office. While the

Memorandum ofUnderstanding was signed by the Provost,it was negotiated between

Plaintiff and President Gogue via Dr. Rajan Nataraajan(Chairman ofthe Marketing

Department).


      10.    Summer 2009. The new Provost from West Virginia, Dr. Mary Ellen

Mazey,believed that right-wing money(Koch Foundation and BB&T)were the key

to a successful marriage between the Economics Department and the College of

Business because that is what she was accustomed to at West Virginia University.

She personally handled the negotiations,bringing in Plaintiffto represent the majority

ofthe Economics Department.She considered Plaintiffthe perfect choice to represent

those generally opposed to the influence of the Koch money because Plaintiff was

untenured and was beginning his application for tenure through her office (thus she

believed that she would have complete control over Plaintiff) during the 2009-10

cycle. She was wrong. Plaintiff resisted and exposed her repeatedly to President

Gogue.

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      11.    Fall 2009 — Spring 2010. Provost Mazey retaliated and moved the

Econornics Department into the College ofLiberal Arts("CLA")(with no discussion

or preparation whatsoever), and also into the windowless Haley Center basement

(where the Economics Department would remain until the summer of2017).Provost

Mazey forced CLA to process Plaintiffs tenure application(even though Plaintiffhad

never worked there a single day in his career). Provost Mazey got the CLA Dean

(who had never administered nor been around an Economics Department in her entire

career) to write a misguided letter opposing Plaintiffs tenure, despite the fact that

Plaintiff won the vote of the Economics Department faculty. The CLA Tenure and

Promotion Committee abstained from the process in protest. Provost Mazey denied

Plaintiffs tenure in the Spring of2010. President Gogue invited Plaintiffs appeal,

and granted Plaintiff tenure in May of2010.


      12.    August2010.Plaintiffbecame the unanimously-elected Chairrnan ofthe

Economics Department.The then-CLA Dean(Dr.Anna Gramberg)turned on Provost

Mazey and developed an excellent relationship with Plaintiff. Several years later

(2013)the new Provost,Dr. Timothy Boosinger,ran offCLA Dean Anna Gramberg

and brought in Dr. Joseph Aistrup to keep the Public Administration major open at

the behest of Auburn athletics.
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       13.   February 4,2014.Auburn University's Faculty Athletics Representative

("FAR"), Dr. Mary Boudreaux, put on a presentation in the University Senate

wherein she claimed that there was no clustering ofathletes by any major at Auburn.

Plaintiffquestioned her in relation to the Public Administration program and football,

given the contrasting information Plaintiff was told by a colleague.(During the 2013

Iron Bowl,Dr.Randy Beard(Economics professor and Plaintiffs colleague)noticed

that almost all of the star players on the football team had Public Administration as

a rnajor). Dr. Joseph Aistrup(new College of Liberal Arts Dean at the time)ran up

to Plaintiff on the way out of the Faculty Senate. He looked green and like he was

going to cry.He said,"Oh rny God,Mike,I can't believe you rnentioned our prograrn.

I'rn going to hear about this."


      14.    February 5, 2014. Dr. Steve Brown, Chair of the Auburn Political

Science Department,called Plaintiffon the phone in the morning to learn more about

what Plaintiffsaid at the University Faculty Senate meeting. He revealed to Plaintiff

that they hadjust attempted to close the Public Administration major(PUBA),butthe

Provost (Dr. Timothy Boosinger) wouldn't let them. Late in the evening, Aistrup

emailed Plaintiff his infamous lecture on diplomacy. That ernail appeared later in an

article about Plaintiff, Auburn,athletics,and the Public Administration scandal in the

Chronicle of Higher. Education. The email was clearly designed to intimidate

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Plaintiff.

       15.   February 20, 2014. Plaintiffs exchange in the University Faculty

Senate with the Faculty Athletics Representative must have been brewing plenty of

trouble behind the scenes as evidenced by the critical email between Dr. Gary Waters

(Associate Athletics Director for Athletics) and Dr. Boosinger(Provost) uncovered

by the Plaintiffs FOIA request (Summer 2015). The information in that email

appeared in both the Wall Street Journal article and the Chronicle of Higher

Education article. The Journal used the data and the Chronicle highlighted the

forward curricular conspiracy at the end ofthe email.


       16.   March 4, 2014. Plaintiff has his annual review meeting with Aistrup.

Aistrup said that he would like to replace Plaintiff with an externally-hired

department head and that the Provost would pay for it. He suggested that Plaintiff

consider stepping aside even though it was only the first year ofhis second term and

Plaintiff was unanimously elected (twice). Plaintiff declined.

       17.   March 5,2014.Aistrup sent Plaintiffan email informing him(Plaintiff)

not to tell anyone else about what he (Aistrup) had just said to Plaintiffthe previous

day. Even though Aistrup suggested returning to the issue a couple ofweeks later, he

did not.Plaintiffremained quiet on the issue ofPUBA and athletics for the remainder


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of2014.

      18.    October, 2014. Plaintiffs annual raise was down to 2%.


      19.    December 5, 2014. John Urschel of the Baltimore Ravens discovered

the large cluster of football players in PUBA at Auburn and wrote about it in his

"Math Meets Football" blog. Mr. Urschel calculated the odds that the amazingly high

density of football players in the PUBA major could have occurred randomly at

roughly 1 in 3,000,000,000,000,000,000,000,000,000,000,000,000 (1 in three

undecillion). Pretty low odds.


      20.    February 3, 2015. The Faculty Athletics Representative (Dr. Mary

Boudreaux) made her annual presentation to the University Faculty Senate. She

continued to intentionally deceive regarding PLTBA.She was aggressively challenged

by Plaintiff. Boudreaux's continued deceit despite the already public revelations by

John Urschel told the Plaintiff there must have been something very wrong,

something worse than what he already knew or suspected.

      21.    February 4, 2015. The Chair of the University Faculty Senate, Dr.

Patricia Duffy, began talking to Plaintiff. She leaked the process documents related

to the closure ofPUBA to Plaintiff. Plaintiff did not know at the time that Dr. Duffy

was the target of an institutional bribe from Auburn Athletics.
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      22.    March 12, 2015. Dr. Stern met with the Executive Committee of the

Faculty Senate at Dr. Patricia Duffy's invitation. Plaintiffinformed them of what he

knew regarding the clustering offootball players in PUBA and the blocked attempt

at closing the troubled program. He still remembers the quotation from Dr. Larry

Crowley (immediate past Faculty Senate Chair), "This is explosive!" Plaintiff

requested that he be added to the agenda of an upcoming Faculty Senate meeting so

that he could make a presentation to the full University Faculty Senate.


      23.    April 29, 2015. Dr. Dan Larocque (former Associate Dean ofthe

College ofLiberal Arts du-ring the process to close the PUBA program)sent Plaintiff

some incredible behind-the-scenes correspondence from 2013 related to the attempted

closure ofPUBA.


      24.    April 30, 2015. A FOIA request for documents from Plaintiff's then-

attorney in Birrningham was sent to Mr.Lee Armstrong, University Counsel. A wide

array of docurnents, data, and emails are requested in relation to the closure of the

PUBA program and presence of athletes in the program.


      25.    May 7,2015. Plaintiffattended the Steering Committee(the committee

in charge of the Faculty Senate agenda) to rnake a presentation, and requested that

they add him to the agenda of the upcoming University Faculty Senate meeting.


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Aistrup dispatched Dr.Steve Brown,Chair ofthe Political Science Department(home

ofthe PUBA program), to mislead the Committee. For example, he claimed to have

never spoken to Plaintiff about this issue even though he was the very first person to

talk to Plaintiffand told him how they did everything they could to close the program

but the Provost wouldn't let them. The Steering Committee mernbers, fearful ofthe

Provost, voted against adding Plaintiff to the agenda(even though they voted to put

Dr. Mary Boudreaux on it twice to make misleading presentations to the Faculty

Senate).


      26.    May 8, 2015. At the end of the CLA leadership retreat at Callaway

Gardens, Georgia, Aistrup began to verbally assault Plaintiff over his pursuit of the

PUBA scandal and used some ofthe other department chairs to threaten Dr. Stern. It

was suggested to Plaintiff that "life could get tough for you in the college." Plaintiff

suggested the discussion was highly inappropriate and left to return to Auburn.

Aistrup confronted him out in the parking lot, got up in Plaintiffs face, yelling that

he doesn't want to see any articles as they would destroy the college.Plaintiffavoided

any physical confrontation, got in his car with his wife, and drove back to Auburn.

When he got back, the internal letter from Lee Armstrong seeking documents

pursuant to the FOIA request was in his mailbox. Hence, Plaintiff presumed it was

also in Aistrup's mailbox.

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      27.    May 9, 2015. Aistrup sent Plaintiff an email at 5 a.m. on Saturday

morning inquiring as to whether he(Plaintiff)had been recording their conversations.

Plaintiffpresumed this sudden high level ofpanic/paranoia was brought about by the

FOIA letter distributed by Mr. Lee Armstrong, University Counsel.


      28.    May 11,2015. Once having confirmed that he was not on tape, Aistrup

now wanted to join the investigation ofPUBA; Aistrup emailed Plaintiff for a copy

of his presentation so that he (Aistrup) could also investigate the PUBA scandal.


      29.    July 2, 2015. Auburn sent out the FOIA box to the Plaintiffs

Birmingham attorney. Due to the 4th ofJuly holiday, it took a few days to get the box

back down to Auburn. Despite the massive number of documents contained in the

very large FOIA box, the institutional bribe and the correspondence involving

Athletics officials had been placed right on top. Plaintiff was stunned.


      30.    Mid-July through Early August, 2015. Plaintiff worked with Ben

Cohen ofthe Wall Street Journal to produce a story based, in large measure, on the

FOIA documents. The Journal held the story until right before the start ofthe football

season for maximum readership.


      31.    August 24, 2015. Aistrup requested a meeting with the Economics

Department to propose hiring an external Department head to replace Plaintiff and

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said Tim Boosinger would pay for it. A lot of hostility surfaced during the meeting,

and Aistrup was generally unable to articulate why the faculty should support his

proposal.


       32.   August 27, 2015. The Wall Street Journal published "At Auburn:

Athletics and Academics Collide" as the lead article of their sports section. The

article presented the disturbing outline of the Athletics Department's direct

interference in the process to close the Public Administration major, including the

explicit offer of Athletics Department money to fimd the troubled academic program

and pay professors' salaries (i.e., an institutional bribe). The corrupting influence of

athletics on the governance of academic curricula at Auburn University, a state

university, is a matter of major public concem. The article specifically quoted the

Plaintiff:


   "Michael Stern, the chairman ofAuburn's economics department and aformer

member ofthefaculty senate, said athletics is so powerful at Auburn that it operates

like a "second university." Whenever athletic interests intersect with an academic

matter, he said, "it's a different kind ofprocess.""


Numerous major media outlets covered the Wall Street Journal article, and several

specifically ran the Plaintiffs quotation, including Forbes and USA Today. The line


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oflocal media trucks coming into Auburn University that morning was amazing. The

College of Liberal Arts Dean's secretary said that she gave up answering the phone

because it was always some reporter asking questions.


       33.     August 30, 2015. Aistrup was informed that the Faculty Senate had

unanimously rejected his proposal to hire an external Department Head to replace

Plaintiff.


      34.      October,2015.Plaintiffreceived an extremely small salary raise(1%).

Plaintiff deemed that disproportionate salary increase as retaliation for his engaging

in First Amendment protected speech.

      35.      December 4, 2015. Plaintiff received an extremely small merit bonus

(1%). Likewise, Plaintiff viewed that disproportionary small salary bonus as

retaliatory.

      36.      March 10, 2016. The Economics Department faculty unanimously

recommended Plaintiffs re-appointment as Chair. The Dean was informed of the

recommendation. He delayed action, and asked for a meeting with Dr. Randy Beard.

At that meeting, he told Dr. Beard that he had some "ideas" regarding a role for

Plaintiffrelated to the College and the new budget model that would leave him with

insufficient time to continue as Chair. Dr. Beard suggested to the Dean that he ought



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to discuss such ideas with Plaintiff. The Dean replied that he would, and then get

back with Dr.Beard.The Dean never discussed anything ofthe sort with Plaintiff,nor

did he ever get back with Dr. Beard.

      37.   May 6,2016. The five-year review ofPlaintiffs administrative service

was completed by a committee comprised of both faculty and staff inside the

Department and representatives from outside the Department. The Chair of the

committee was Dr. Andrew Gillespie, who worked in the Provost's Office. He had

been involved in a number ofthese reviews around the University and he indicated

to the members ofthe committee that this was one ofthe most positive reviews he had

ever seen.(Other individuals who have seen many ofthese type ofreviews, such as

Dr. Emmett Winn (associate provost), indicated the same to Plaintiff.)

      38.   August30,2016.Plaintiffs second term had already expired and no one

had discussed his re-appointment with either Plaintiff or the Department.

Furthermore,his review had been cornpleted and submitted nearly four months prior.

Dr. Randy Beard asked in an email what was going on,and copied the President,Dr.

Gogue.

      39.   Early September 2016.Based on Plaintiffs conversation with President

Gogue in December 2016,.it was his belief that a meeting had taken place in the




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President's office around that time period wherein Aistrup and Boosinger advocated

getting rid ofPlaintiff and the President "told them the way it was going to be."

      40.    September 8,2016.Plaintifffinally received his administrative review

via Aistrup. Aistrup's snide comment regarding "external relations" invariably

referred to the Wall Street Journal article. Aistrup did not want to meet with Plaintiff,

nor did he refer in any way to Plaintiffs continuation or re-appointment as Chair.

      41.    October 31, 2016. Plaintiff receives a raise of 3.5%. That amount

appeared to be tied for the lowest among the CLA chairs despite Plaintiffs

outstanding five-year review, combined with a unanimous re-election vote from his

faculty. Other chairs who would soon resign due to difficulties(Drs. Peter Chen and

Sara Baird) received higher raises. More importantly, Dr. Steve Brown (Political

Science), who helped cover-up the PLTBA scandal with Aistrup, appeared to receive

a raise of more than 5%. This, clearly, is an act of retaliation.

      42.    December 2,2016.Plaintiffreceived a tiny merit bonus compared to all

other administrators in the College ofLiberal Arts.Plaintiffs bonus amounted to 2%,

while all others fell in the range of5% to 7%. Plaintiff would not know the amount

that others received until the public disclosure of the December payroll in early

January. But he knew instantly that he must have been very low, as the budget

situation was excellent and the bonuses could not have been that small(i.e.,only 2%).

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      43.    December 13,2016.Once Plaintiffhad finished his work and classes for

the semester, he set up a meeting with President Jay Gogue, as his (Plaintiffs)

situation had grown intolerable.

      44.    December 16,2016.Plaintiffmet with President Gogue,alone. Plaintiff

informed him ofthree items:(1)The failure of anyone to meet with him or attempt

to re-appoint him as Chair;(2)The likely hatchetjob on his merit bonus; and(3)The

failure of anyone to contact him regarding the Department's pending much desired

move from the Haley Basement to Miller Hall.

      45.    Gogue was extremely disturbed,and revealed to Plaintiffthat Boosinger

and Aistrup came to meet with him back at the beginning ofthe fall semester and that

they advocated getting rid of him, Stern, as Chair. Gogue claimed that he laid down

the law and told them Plaintiff was going to continue as Chair. Gogue also picked up

the phone and called Dan King, Vice President ofFacilities, to find out about Miller

Hall and the needed renovations for the Department's move. King confirmed that

little to no work or planning had yet been done.

      46.    Gogue informed Plaintiffthat he didn't want him to do anything,and he

wanted him back in his office as soon as the University re-opened in January. He also

asked Plaintiff to send him the data on the merit bonus when it became available.

Plaintiff surmised that Gogue feared Boosinger and Aistrup had become

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insubordinate,failing to meet with and formally re-appoint Plaintiff, failing to work

on their major facilities move,savaging his bonus, etc., and that they were going to

wait out Gogue's retirement. The search to replace Gogue was already underway.

Plaintiff concluded they would likely move against hirn once Gogue left office.

      47.    January 6, 2017. The President's secretary set up a short rneeting

between Plaintiff and the President for January 11, 2017.

      48.    January 9,2017. Plaintiff was able to access the public payroll records

update to cover the rnerit bonus payments from early Decernber. He pieced together

the rnerit raises for the CLA adrninistration and sent it to the President.

      49.    January 11, 2017. Plaintiff met alone with President Gogue. It was a

very intense meeting. Gogue informed Plaintiffthat he had to make sorne decisions.

He said that he wanted the Econornics Department out of CLA and wanted Plaintiff

to report directly to the Provost's Office.Gogue said it would be a good thing because

he would rnake sure the Department had its revenue under the new budget model (it

was rnillions in surplus) and it could sirnply move its curriculurn to the University

College. Plaintiff questioned the President as to how he could expect Plaintiff to

report to, and work with,Tirn Boosinger,the Provost. He said that Plaintiff wouldn't

have to deal with Boosinger, that they both got along with Associate Provost Dr.

Emmett Winn, so Plaintiff would report to Winn and he, the President, would

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rnaintain contact with Winn. From that point forward, Boosinger and Aistrup were

effectively out and the reporting chain was to become Plaintiff to Winn to Gogue.

Plaintiff agreed, and Gogue told him to wait one day and then call Emmett. Gogue

presented Plaintiff with a memorandum that he, Gogue, wrote a few days prior to

Boosinger and told Plaintiff to be very careful with it, and only use it if it was

absolutely necessary. At the end ofthe meeting. Gogue told Plaintiffthat he,Gogue,

sent the merit raise data to Winn and told him to take care of it. As Plaintiff and

President Gogue both got up to leave the meeting, Gogue warned Plaintiffthat when

he, Gogue, left office,"they will be out to get you."

      50.   January 12,2017 Plaintiffcalled Dr. Winn. Winn indicated that in his

discussions with the President,it would be preferred that we renamed the department

a school and we simply transferred our CLA curriculum to the independent School

of Economics rather than use the University College. Plaintiff agreed, and Winn

asked him to draft a proposal and submit it to the faculty for a vote and to the

academic program review(APR)committee for review(the APR committee reviews

the transfer of curricula between academic units).

      51.   January 17, 2017 to February 1, 2017. Plaintiff drafted the

independent school proposal,revised it via Gogue and Winn,and submitted it to the

Economics Department faculty, whose members unanimously approved it. Finally,

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Plaintiffsubmitted it to the APR committee.The budget estimates for the Department

as an independent budget entity were nearly two million dollars in surplus. Winn

informed the chair ofthe APR committee(Tillson)that the Provost's Office and the

President's Office supported the proposal.

      52.    January 31, 2017. An additional 5% merit bonus($7,445)showed up

on Plaintiffs January pay stub. Combined with the 2% raise from December, this

made a total of 7%, placing Plaintiff at the very top of the CLA distribution

(confirming his outstanding 5-year independent evaluation and unanimous re-

election). Yet, his permanent raise from October 2016 remained at the bottom ofthe

distribution, not to mention 2015.

      53.    February 13, 2017. Emmett and Plaintiff tabled the APR proposal as

there were some questions from committee members about budget, staffing, student

advising, and the like. They figured that it was better to set everything up in relation

to the new school prior to a review ofthe curriculum transfer by the APR comrnittee.

      54.    March 6,2017. Emmett informed Plaintiff that they were not going to

perform an annual evaluation on him regarding 2016. Plaintiff was never told why

this was the case.

      55.    April 11,2017.All ofthe Department's financial and personnel approval

queues in the computer systems were removed from the CLA and transferred directly

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to the Provost's Office. This effectively made the Department operationally

independent from CLA.

      56.    Mid April to Early June,2017.Plaintiff worked with Amanda Malone

(Provost Office budget staff) to set up the Department's independent budget.

Likewise, Plaintiff worked on the renovation and moving plans for Miller Hall. In

early June, Winn's information technology expert, Joe Carlson, evaluated the

Economics Department IT needs and recommended that they move forward hiring

their own dedicated IT person.

      57.    June 9,2017.Plaintiffset up a final meeting with President Jay Gogue

for his last week in office. This meeting was requested by Gogue through Dr. Barry

Burkhart (psychology professor and supervisor of Plaintiffs wife). Gogue told

Burkhart on the golf course in early June that Tim Boosinger "hates Michael" and

that Plaintiff should get in touch with his secretary and set up a meeting. This time,

both Winn and Boosinger were going to be invited.

      58.    June 12,2017. The meeting occurred in the President's Office. Gogue,

Winn,and Boosinger were all present. Boosinger was extremely hostile and said that

he wanted to return Plaintiffto CLA and rip up the Department's new budget. Gogue,

Winn, and Plaintiff all rejected Boosinger's proposal to reverse everything. Gogue

ended the meeting by reiterating his agreement with Plaintiff, ordered Winn to

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continue administering Plaintiff(to which Winn responded with a loud "Yes Sir!"),

and instructed Plaintiff to work with the new President to finish the work on the

school. When Plaintiff left the President's office, Dr. Steven Leath, the incoming

President,was standing outside,waiting for the next meeting.Plaintiffshook his hand

and introduced himself.

      59.    June 13, 2017 to June 15, 2017. Plaintiff continued his work on the

budget and the IT hire. They were now ready to "operationalize" their independent

budget. Plaintiff also began work on their departmental raises/bonuses with the

Provost Office's staff.

      60.    June 16,2017. This was President Gogue's last day in office. Plaintiff

was informed that the Provost's Office had determined that his raise and merit bonus

will both be 3% this year. Since the.y didn't perforrn any annual evaluation,Plaintiffs

big five-year review would be the most recent review on file. It is unclear what peer

group Plaintiff was supposed to be compared to in, order to determine his relative

merit. Given that he would be returned to CLA shortly, his raise and bonus were once

again too low if his relevant peer group is CLA, as objective measures and

independent evaluations demonstrate he is the best chair in CLA.

      61.    June 19, 2017. Dr. Steven Leath officially became President.

      62.    June 20,2017.Plaintiffturned in the raises/bonuses for his faculty to the

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Provost Office staff.

      63.    June 23, 2017. By the end of the week, the Provost Office staff had

begun to go silent on Plaintiff. Plaintiffs secretary asked for an update on the IT hire

paperwork. Instead of a response about the IT hire, Kerry Ransel (Provost human

resources staff) set up a meeting for Plaintiff with Boosinger for early July. Plaintiff

checked on who his supervisor was in their computer systems. It was Dr. Winn,

precisely as had been agreed upon with Gogue.

      64.    July 6,2017: Plaintiff met with Boosinger and Winn. Boosinger spent

niost of the meeting discussing with Plaintiffthings that were wrong with CLA. He

told Plaintiff that he was going to fix CLA and that Plaintiff would "see his

engagement over the next several weeks". Plaintiff didn't believe him for even one

second. At the end ofthe meeting Boosinger slipped Plaintiffand Winn a copy ofthe

letter he had written the day before to Aistrup. The letter indicated that he was going

to throw Plaintiffback into CLA and take away his new budget. Plaintiffdidn't react

to the letter, he simply took his copy and left the room with Winn. The letter also

indicated that a copy was sent to Leath.

      65.    July 20, 2017. The Department's financial and personnel approval

queues were returned to CLA in clear violation ofPlaintiff's agreements with Gogue.




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      66.   July 24-28, 2017. Plaintiff executed the move of the Economics

Department from the Haley basement to Miller Hall.

      67.    August 10, 2017. Plaintiff met with Aistrup to discuss the budget and

hiring for the upcoming academic year. This was Plaintiffs first contact with Aistrup

in eight months. Plaintiff was specifically looking for any evidence that Boosinger

had engaged to fix CLA,but observed none. Plaintiff discussed how CLA needed to

reform the way it handles the new budget model. Aistrup claimed he agreed with

Plaintiff but articulated no forward plan. The Department was massively in surplus

and had two upcoming senior retirements, hence Plaintiffindicated that they needed

to run a junior ad for multiple positions. Aistrup agreed. The meeting went well but

Aistrup was distant and weak as if Aistrup had no actual authority. Plaintiff didn't

believe a word Aistrup said.

      68.   August 23, 2017. Plaintiff requested a meeting with President Leath

following up on a discussion in the University Faculty Senate regarding a new

Faculty Athletics Representative (replacing Boudreaux).

      69.   September 1,2017.Another three weeks passed.Plaintiffhad witnessed

no attempt to reform CLA,nor had he seen any "engagemenr from Boosinger. He

saw the perfect opportunity to object and copy Leath.




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         70.   September 5, 2017. Boosinger announced his retirement (although it

would not take effect until the end ofthe calendar year). Due to Labor Day,this was

the very next business day after Plaintiffs September 1 email that was cc'd to Leath.

         71.   September 24, 2017. Plaintiff got an email on Sunday evening from

Gogue checking on his welfare.

         72.   September 27, 2017. Plaintiff met with President Leath right in the

middle of the FBI — Chuck Person scandal. They discussed the Faculty Athletics

Representative position. The conversation was rather shocking. At the end of the

meeting, Plaintiff brought up the situation with the Economics Department. Leath

said that he wouldn't have handled things the way they've been handled,and that they

needed to discuss the matter, but that he needed to deal with the crisis in athletics

first.

         73.   October 9, 2017. The Economics Department had six tenure and

promotion applications and they badly needed to run a junior ad for the upcoming

American Economic Association meetings. Plaintiff spoke with Winn and he had no

idea what was going on. They agreed that Plaintiff would send him an email and

attach a hiring memorandum addressed to him and Leath. Leath immediately

responded,acknowledged the unusual situation in Economics and said he would talk

to Boosinger. At that time, Dr. Winn was still listed as Plaintiffs supervisor in the

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cornputer system.

      74.    October 11,2017.Boosinger sentPlaintiffan email basically telling hirn

to get stuffed. Boosinger copied Leath on his email. Plaintiff responded strongly to

Leath and,for the first time,Plaintiffunveiled the memorandum that Gogue gave him

back in January for the very first time. Winn did not know it existed and Plaintiff

doubts Leath did either.

      75.    October 12, 2017. After Plaintiff unveiled the Gogue memorandum,

Leath hid behind his interim chiefofstaff, Brian Keeter, who asks Plaintiffto delay,

awaiting the selection of a new Provost.

      76.   October 20 2017. Boosinger and Aistrup got nervous over the

Economics Department's six tenure and promotion candidates. Brian Keeter called

Plaintiff to ask about just giving the packets over to CLA. Plaintiff objected and

drafted a memorandum for Leath.Plaintiffalso mentioned that the failure to authorize

their junior search would have significant negative consequences.

      77.   October 24, 2017. President Leath asked Plaintiff to give their tenure

and promotion packets to CLA and suggested his new Provost would get the

Department out of CLA.

      78.   October 27 2017. Plaintiff turned over the tenure and promotion

packets to CLA based on the request by Leath.

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      79.    November 10,2017.The Board ofTrustees installed Dr.Bill Hardgrave,

Dean ofthe Business School,as the new Provost even though there were much better

candidates. Hardgrave was to officially start January 1, 2018. This was a very

negative development. Plaintiff and the Economics Department's relationship with

Hardgrave was historically very negative. Keeter approached Plaintiff at the Board

meeting. They then spoke on the phone later in the afternoon. Plaintifftold him that

he was not waiting any longer and either Leath could start speaking with Plaintiffor

he would have to begin taking action to protect himself. Keeter immediately spoke

to Leath and Plaintiff received an email, delaying once again.

      80.    November 15,2017. Plaintiff checked again to see who his supervisor

was in their cornputer system. It had been changed to Aistrup. Plaintiff viewed this

as an obvious act of bad faith and was a total violation of his agreement with Gogue.

      81.    November 28,2017.Plaintiffcontacted Jack Stripling,a senior reporter

for the Chronicle ofHigher Education.

      82.    November 30,2017.Plaintiffcancelled his reservations atthe American

Economic Association meetings in January as theirjunior search was never approved

and they had no advertisement.

      83.    December, 2017. Plaintiff worked with Jack Stripling to develop an

article that would become the front cover story for the national print edition of the

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Chronicle of Higher Education. He went silent in terms of his interactions with the

Auburn University administration.

      84.     January 11, 2018. Everything was largely set with the Chronicle and

Jack Stripling had started making contact with others at Auburn,so Plaintiffreached

out to Dr.Bill Hardgrave,the new Provost using his prior correspondence with Brian

Keeter. He did not receive any reply.

      85.     January 24, 2018. Plaintiff emailed Winn and made a last ditch effort

at hiring via the senior assistant market. Winn called Plaintiffand asked him what he

wanted him to do. Plaintifftold him to give the memorandum to Hardgrave and also

mention that the Provost didn't even reply to Plaintiffs earlier email asking for a

discussion.

      86.     January 25,2018.Plaintiffgot a reply from Winnjust tossing back what

Hardgrave had said. Hardgrave finally responded to Plaintiffs earlier email with

more delay. When Hardgrave later visited CLA, he did not visit the Economics

Department.Plaintiffalso got an email from Aistrup's secretary proposing some sort

of"listening session",which Plaintiffignored. The time for"listening" was two years.

ago. They were all in the proverbial bunker awaiting the Chronicle article.

      87.     February 16, 2018. The Chronicle published online the article titled,

"Unrivaled Power; Inside Auburn's secret effort to advance an athlete-friendly

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curriculum." The article was then published on the front cover oftheir national print

edition the following week. The article exposed numerous shocking details left out

of the Wall Street Journal article related to the efforts to keep the troubled public

administration major open to benefit athletics. It also exposed the serious racial issues

surrounding the scandal and a broader curricular conspiracy between the provost and

athletics officials to create weak academic programs for the benefit of athletes.

Finally, the article told the story of the Plaintiffs efforts to publically speak about

these matters of serious public concern and the repeated acts of retaliation he

experienced as a result. The article had a photo ofthe Plaintifftogether with the large

box ofdocuments from his public-records request. The Plaintiffis also quoted in the

article:

""What they have done to me is necessary to keep people in line, or you will have

other people speak out,"saidStern, whoprovided the Chronicle with documents that

he had previously given to the Wall Street Journal and other material he obtained

afterwards. There must be penaltiesfor those who don'tplay ball, and there have to

be rewardsfor those who do. Auburn has been cleansed ofdissent.""

       88.     February 26,2018.Plaintifftested Leath with some correspondence that

he received from a professor at the University ofNorth Carolina after the Chronicle

article broke. He replied with a short sentence a week later.

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      89.    March 1,2018. Mr. John Sophocleus,Instructor in the Department of

Economics,published his monthly column in the Alabama Gazette. The column was

titled "The Auburn Greed" and is a response to the public outcry over the revelation

that Jay Jacobs, Auburn's forrner Athletics Director, was going to be receiving the

largest retirement check in the history of the Retirement System of Alabama.

Sophocleus exposed how Jacobs' chief lieutenant in the PUBA scandal, Dr. Gary

Waters, was receiving very special raises to inappropriately increase his retirement

check via the Retirement System of Alabama. Sophocleus compared the massive

raises given to Jacobs and Waters to those ofthe Plaintiff.

      90.    March 7, 2018. One of the Economics Department's young faculty

members took ajob at another university. This, combined with their two retirements

and their lack of tenure-track hiring, left the Department with only twelve tenure-

track faculty members for the fall, a number insufficient to properly continue with

their PhD program.Plaintiffinformed the Provost's Office Human Resources person

and copied Winn and Leath.

      91.   March 9, 2018. Plaintiff suggested to Leath that they now proceed as

previously agreed with Gogue given that his "hardship" was now over(new Provost

and new Athletics Director in place). Plaintiff received no response.




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      92.    March 20,2018.The new Faculty Athletics Representative,Dr. Beverly

Marshall, put on a presentation at the University Faculty Senate regarding the

academic performance of athletes. The presentation was devoid ofcritical detail and

most notably lacked racial data and did not break out majors by program, gender, or

race. It appeared that maximum aggregation was once again used to cover up the

reality.Plaintiffchallenged her and she promised to bring more detailed data to a later

Faculty Senate meeting.

      93.    March 22, 2018. The Economics Department's Director of Graduate

Studies, Dr. Alan Seals, had enough and he communicated his displeasure with

President Leath. Leath responded, and Seals was more than happy to agree to his

offer of a meeting with himself and the Provost.

      94.    March 23-25,2018.Plaintiffincreased the pressure on President Leath

by directly sending his recommendations concerning professorships and emeritus

applications to him.

      95.    March 26, 2018. Plaintiff forwarded to Leath his exchange with Dr.

John Carvalho and Dr. Beverly Marshall(the new Faculty Athletics Representative)

that shows highly qualified people like Carvalho were never even interviewed by

Leath for the Faculty Athletics Representative position.




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      96.    March 26-29,2018.Plaintiff weighed in on the Seals & Leath situation

and proposed a broader meeting involving himself and the Chair of the Faculty

Senate, Dr. Dan Svyantek, instead of the new Provost, Dr. Hardgrave (who had

consistently avoided communicating with Plaintiff). President Leath surprisingly

accepted and appeared to rope in his chief of staff, Miles Lackey. Leath's secretary

set the day and time for the meeting.

      97.    April 1, 2018. At 9 p.m. on Easter Sunday,President Leath decided to

back out ofthe scheduled meeting.

      98.    April 2,2018.Dr.Leath still refused to meet as was scheduled. Further,

he has Aistrup threaten Plaintiff while copying him,Hardgrave,and Maran White,a

lawyer in the counsel's office.

      99.    May 4,2018.Dr.Paula Bobrowski(CLA Associate Dean)sent Plaintiff

some data from the Provost's Office demonstrating how poorly CLA treats the

Economics Department in terms offunding(tenure-track personnel)and yet reflecting

how outstandingly the Department performs. The Department was in the 34th

percentile compared to peers in tenure track personnel, yet it hit the 60th and 78th

percentile in instructional and scholarly production compared to peers. The

Department of Economics was clearly the most outstanding department in CLA

according to the data.

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       100. May 15, 2018. Dr. Marshall returned to the Faculty Senate (following

up on the March senate meeting) with the new Athletics Director, Allen Greene.

Marshall put on a short slideshow with a small amount of racial time series data

regarding six-year graduation rates for male athletes. Plaintiff responded with a

devastating slide show of his own showing the potential role the PUBA scandal

played in the data she presented. AD Greene did not look happy.

      101. May 25, 2018. Ten days later (and on the Friday before the long

Memorial Day weekend), at approximately 10:00 a.m., Plaintiffs access to the

administrative computer system (Banner) went dead. At the time, Plaintiff was

actually trying to open up a couple of extra seats in a class for the Camp War Eagle

session later that afternoon. Soon thereafter,they cut offhis secretary's access as well

(they would restore her access a few days later, claiming they had turned it off

because Plaintiff could have pressured her to "do something bar.)

Approximately 11:00 a.m: Aistrup stormed into Plaintiffs office. He had no

appointment. He said he wanted to perform Plaintiffs annual evaluation(yet annual

evaluations had been due back on April 30th). What he handed Plaintiff did not look

like any annual evaluation that Plaintiff had ever seen and Aistrup wanted Plaintiff

to sign it above his own name. Plaintiff refused. Then Aistrup told Plaintiff that he

was being relieved of his duties as Chair, effective immediately. Aistrup handed

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Plaintiff a memorandum to that effect. Interestingly, however, the memorandum

stated that Plaintiff was to continue to be paid as if he remained Chair all the way

until August 15 of2019! Robin Jaffe, the facilities liaison for the College ofLiberal

Arts, then walked into Plaintiffs office and informed him that he needed to take his

key (it was a master key for Miller Hall). Plaintiffreplied that it was the only key he

had so how would he get into his office? Aistrup remarked that he can have his

secretary let him in his office - - an odd statement since she was actually no longer

"his" secretary. Plaintiff remarked that she had already left on leave for Memorial

Day weekend. Plaintiff made it clear that he was not giving them his key unless they

presented him a new one that would work on his office(he had a lot of work to do).

Plaintiffproposed that Robin Jaffe meet him over at the access control office at noon

(after he picked up his son from swimrning)and they could swap keys. They agreed

and left his office. Aistrup apparently headed back over to his office in Tichenor Hall.

Aistrup then immediately sent an email to other department chairs and college staff

announcing that Plaintiff was no longer chair of the Economics Department. The

email was openly copied to Hardgrave and Maran White in the Counsel's Office. He

directed people with questions or concerns to Paula Bobrowski(rather than himself),

yet based on Plaintiffs discussions with her, Aistrup had never told her anything and

she had no meaningful information to give anyone. Aistrup then proceeded to send


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an email to the Economics Department Graduate Programs Officer,Dr. Seals, stating

that he was relieved of his duties, effective immediately. Seals was literally in the

middle of administering a qualifying exam for PhD students when he received the

email. Aistrup sent nothing to Department faculty, graduate students, or other

departmental employees and he would not do so for another five days. Plaintiff

forwarded Aistrup's email to Leath and the general counsel,Jaime Hammer.Dr. Seals

also forwarded his email to them.

Noon: Plaintiff met Robin Jaffe at the access control office and swapped out his

master key for one that worked on his office.

      102. May 30, 2018. Aistrup finally emailed the Department and informed

them of what he had done five days previously. Aistrup had apparently been running

around for several days trying to get someone outside the Department to agree to be

Interim Chair. Dr. Dan Svyantek, Chair ofthe Faculty Senate, indicated to Plaintiff

that he had been quietly asked if he was interested and he indicated that he was not.

They obviously had no plan, so Aistrup claimed Paula Bobrowski would handle

things and he needed "a couple weeks". Bobrowski was not copied on that email and

she claimed to Plaintiffthat Aistrup never discussed with her performing any duties

with respect to the Economics Department. The Economics Department secretary




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forwarded Bobrowski a copy ofthe email, the first she learned of her apparent new

duties.

       103. May 31, 2018. Dr. Seals sent an email to Leath and Hammer

highlighting the reckless nature oftheir conduct.

       104. May 31,2018 — June 1,2018. Dr. Charles Israel, an Associate Dean in

CLA, tried to get Plaintiff to teach him how to perforrn certain parts of the job of

Chairrnan. Plaintiff took the opportunity to correspond with President Leath.

Interestingly enough,he immediately replied with a"self-reply'(replying to Plaintiff

but also himselfso that he had verification that the email was sent by the server). This

typically indicates a very high level ofconcern or fear. Aistrup and his associates also

failed to supervise the furniture delivery and installation in Miller Hall (something

Plaintiffwould have done),and as a result,Plaintiffs office walls were damaged,new

furniture had to be ordered,and the office walls had to be repaired. In the meantime,

the contents of Plaintiffs office were dumped on the floor of a different room in

Miller Hall with no furniture and to which Plaintiff no longer had a key. Plaintiff

worked on the floor - - no furniture - for the next week and a halfand had to ask the

Department's secretary to let him into the office.

      105. June 1 - June 4, 2018. Discussions continued behind the scenes and

Plaintiffs colleague(he's published a number of papers with him), Dr. Hyeongwoo

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Kim,reluctantly agreed to serve as Interim Chair out of fear of the alternative. The

enticement included a salary of more than $189,000 and a zero course teaching load.

Plaintiff would have to assist Kim with a large portion ofthe duties as he had never

engaged in any preparation or training to be a department chair.

      106. June 4, 2018. Dr. Randy Beard, the Economics Department's most

senior professor, wrote a letter to the Chair(Svyantek)and Chair-elect(Baginski)of

the University Faculty Senate condernning the actions ofthe administration against

Plaintiff and Dr. Seals.

                                   COUNT ONE

                   FIRST AMENDMENT RETALIATION -

               PURSUANT TO § 1983: AUBURN UNIVERSITY

      107. Plaintiffadopts and re-alleges each and every allegation contained in this

Complaint as if set out anew herein.

      108. In taking the above-described actions, the Defendant University

intentionally and willfully retaliated against the Plaintiff for his constitutionally-

protected speech under the First Amendment, to include stripping him of his

Departmental Chairmanship and awarding lower than justified raises in salary.

      109. The Plaintiffs constitutionally-protected speech regarded matters of

public concern,specifically, abuses in the Athletics Department,as set out in articles

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participated in or generated by Plaintiff in the Wall Street Journal and Chronicle of

Higher Education and numerous statements or presentations before the Auburn

University Faculty Senate.

      110. Said speech played a substantial part in the Defendant's decision to

discharge the Plaintiff as Chair ofthe Economics Department.

      111. As a proximate consequence of the Defendant's violation of the First

Amendment, the Plaintiff has suffered and will continue to suffer damage to his

professional life and future career opportunities, future pecuniary losses, emotional

pain,ernbarrassment, humiliation,inconvenience, mental anguish,loss ofenjoyment

oflife, and non-pecuniary damages.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiff demands the

following relief:

            (a)     That Defendant University place him in the position in which he

                    would have worked absent the Defendant's retaliatory treatrnent,

                    or, in the alternative, front pay;

            (b)     Back pay from the date of his retaliatory removal and for the

                    raises he should have received;

            (c)     Injunctive relief;

            (d)     Interest;

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          (e)   Attorneys' fees;

          (f)   Costs; and

          (g)   Such other legal or equitable relief to which Plaintiff may be

                entitled.

          PLAINTIFF DEMANDS TRIAL BY A STRUCK JURY
                  ON ALL CLAIMS SO TRIABLE.

                                          Respectfully submitted,




                                            hn D. Sax'on
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                                          Donna S. Cude
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PLAINTIFF'S ADDRESS

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          PLEASE SERVE DEFENDANT VIA CERTIFIED MAIL
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